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                             UNITED STATES DISTRICT COURT

                            WESTERN DISTRICT OF LOUISIANA


 MICHAEL BERTRAND                                                     CIVIL ACTION


 VERSUS                                                               NO. 17-01379-UDJ-CBW


 LOUISIANA FARM
 BUREAU CASUALTY
 INSURANCE COMPANY



                          DEFENDANT’S ANSWER AND DEFENSES



        Defendant, Louisiana Farm Bureau Casualty Insurance Company (Defendant), submits its

 Answer and Defenses to the Complaint (R. Doc. 1), filed by Plaintiff, Michael Bertrand (Plaintiff),

 on October 25, 2017.

 I.     ADMISSIONS AND DENIALS

        In response to the allegations asserted by Plaintiff in his Complaint (R. Doc. 1), Defendant

 admits or denies those allegations, as follows. See Fed. R. Civ. P. 8(b)(2).

                                            Paragraph 1

        Defendant admits that Plaintiff’s claim arises under the National Flood Insurance Act

 (NFIA), which allows policyholders to sue an insurer for “losses covered by flood insurance” —

 i.e., breach of contract. 42 U.S.C. § 4072 (authorizing claim for breach of contract); see also

 Howell-Douglas v. Fidelity Nat’l Indem. Ins. Co., 24 F. Supp. 3d 579, 583 (E.D. La. 2014) (The

 NFIA authorizes “one remedy, and one remedy only for non-payment of claims: a suit for breach

 of contract.”). Defendant denies, however, that Plaintiff has any cause of action — breach of
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 contract or otherwise — arising under federal common law. While federal common law “governs

 the [Court’s] interpretation” of coverage, Lowery v. Fidelity Nat’l Prop. & Cas. Ins. Co., 805 F.3d

 204, 207 (5th Cir. 2015), an NFIA policyholder cannot “assert extra-contractual claims” available

 at federal common law, Wright v. Allstate Ins. Co., 500 F.3d 390, 394 (5th Cir. 2007) (“reference

 to federal common law in the SFIP directs courts to employ standard insurance principles when

 deciding coverage issues . . . [i]t does not confer on policyholders the right to assert extra-

 contractual claims”).

                                            Paragraph 2

         Defendant admits that the allegedly breached contract is a Standard Flood Insurance Policy

 (SFIP), 44 C.F.R. pt. 61, app. A(1) (SFIP – Dwelling Form), issued by Defendant under the

 National Flood Insurance Program (NFIP). See 42 U.S.C. § 4071(a)(1) (authorizing the use of

 private insurers to carry out the NFIP); 44 C.F.R. § 61.13(f) (SFIP “may be issued by private sector

 ‘Write-Your-Own’ (WYO) property insurance companies”); 44 C.F.R. § 62.23(a) (WYO

 Companies authorized).

                                          Paragraphs 3-7

         Defendant admits the allegations contained in Paragraphs 3-7 of the Complaint, as venue

 is proper and the Court has subject matter jurisdiction over the cause of action and personal

 jurisdiction over the parties.

                                            Paragraph 8

         Defendant admits the allegations contained in Paragraph 8 of the Complaint.
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                                           Paragraph 9

        Defendant admits the allegations contained in Paragraph 9 of the Complaint, to the extent

 it is identified as Louisiana Farm Bureau Casualty Insurance Company and conducts business in

 Louisiana. The remaining allegations made in Paragraph 9 are denied.

                                          Paragraph 10

        Defendant admits the allegations contained in Paragraph 10 of the Complaint.

                                          Paragraph 11

        Because Paragraph 11 does not contain factual allegations or claims, Defendant neither

 admits nor denies those allegations. Defendant acknowledges that the NFIA’s regulations provide

 that “A WYO Company issuing flood insurance coverage shall arrange for the adjustment,

 settlement, payment and defense of all claims arising from policies of flood insurance it issues

 under the Program, based upon the terms and conditions of the Standard Flood Insurance Policy.”

 44 C.F.R. § 62.23(d); see also 44 C.F.R. § 63.23(i)(6) (WYO Companies responsible for defending

 claims).

                                          Paragraph 12

        Because Paragraph 12 does not contain factual allegations or claims, Defendant neither

 admits nor denies those allegations. Defendant nonetheless acknowledges that the NFIA’s

 regulations provide that “WYO Companies will adjust claims in accordance with general company

 standards, guided by NFIP Claims manuals.” 44 C.R.C. § 62.23(i)(1).

                                          Paragraph 13

        Defendant admits that a significant rain event caused flooding in this judicial district and

 some related damage to Plaintiff’s home in August of 2016. Otherwise, Defendant denies the

 remaining allegations in Paragraph 13 of the Complaint.
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                                            Paragraph 14

        Defendant denies the allegations made in Paragraph 14 of the Complaint, because its lacks

 information sufficient to form a belief about the truth of those allegations.

                                            Paragraph 15

        Defendant admits that the flood insurance policy issued to Plaintiff was a Standard Flood

 Insurance Policy (SFIP) — Dwelling Form, codified at 44 C.F.R. pt. 61, app. A(1).

                                            Paragraph 16

        Defendant admits that Plaintiff’s policy was in effect during the August 2016 flood.

 Defendant denies the remaining allegations in Paragraph 16 of the Complaint.

                                            Paragraph 17

        Defendant admits the allegations made in Paragraph 17 of the Complaint. Plaintiff’s Policy

 provided up to $181,000 in Coverage A – Building Property, with a $2,000 deductible. See 44

 C.F.R. pt. 61, app. A(1), § III(A) (Coverage A – Building Property).

                                            Paragraph 18

        Defendant admits that Plaintiff’s home incurred some damage during the August 2016

 flood. Defendant otherwise denies the remaining allegations in Paragraph 18, including the extent

 of damages alleged by Plaintiff.

                                            Paragraph 19

        Defendant admits that Plaintiff reported some losses to Defendant following the August

 2016 flood. Otherwise, given the vagueness of the Complaint, Defendant denies the allegations

 made in Paragraph 19 of the Complaint.
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                                               Paragraph 20

         Defendant admits that it sent an adjuster to inspect Plaintiff’s property but denies the

 remaining allegations made in Paragraph 20 of the Complaint.

                                               Paragraph 21

         Defendant admits that Plaintiffs accepted payments totaling $129,966.95 for covered

 losses. Otherwise, Defendant denies the remaining allegations made in Paragraph 21 of the

 Complaint. Plaintiff alone was responsible for submitting his Proof of Loss and determining the

 amount of loss he claimed. 44 C.F.R. pt. 61, app. A(1), § VII(J)(4)-(5), (7).

                                               Paragraph 22

         Defendant denies the allegations in Paragraph 22 of the Complaint, as Plaintiff has been

 paid for all proven losses and Plaintiff was responsible for submitting a complete Proof of Loss —

 one that included all claimed losses. See Howell v. State Farm Ins. Cos., 540 F. Supp. 2d 621, 628

 (D. Md. 2008) (“[N]othing the adjuster does or fails to do relieves [insured] of the obligation to

 file a proper proof of loss.”).

                                               Paragraph 23

         Defendant denies the allegations contained in Paragraph 23 of the Complaint. The adjuster

 did not submit a Proof of Loss to Defendant and Plaintiff has been paid and offered an additional

 payment for all proven losses. Otherwise, Defendant lacks information sufficient to for a belief

 about the truth of Plaintiff’s allegations.

                                               Paragraph 24

         Given the vagueness of the Complaint, Defendant denies the allegations made in Paragraph

 24 of the Complaint. Plaintiff has never provided Defendant with “conclusive evidence” of

 covered loss beyond that already paid or offered as an additional payment under the Policy.
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                                          Paragraph 25

        Defendant admits only that Plaintiff submitted a subsequent Proof of Loss on September

 22, 2017, seeking an additional $181,000 – the Policy limit. However, Defendant denies the

 remaining allegations found in Paragraph 25 of the Complaint. Defendant specifically denies the

 allegations that the September 22, 2017 Proof of Loss was complete — i.e., contained supporting

 documentation justifying any additional payment— or otherwise complied with the requirements

 of the SFIP.

                                          Paragraph 26

        Defendant denies the allegations contained in Paragraph 26 of the Complaint, as it has not

 received “documentation evidencing Insurer’s substantial underpayment.”

                                          Paragraph 27

        Defendant refers to its responses to Paragraph 1-26 of the Complaint.

                                          Paragraph 28

        Defendant admits the allegations contained in Paragraph 28 of the complaint to the extent

 both parties are bound by the Standard Flood Insurance Policy that Defendant issued to Plaintiff.

                                          Paragraph 29

        Defendant admits only that Plaintiff’s Policy provided up to $181,000 “for direct physical

 loss by or from flood to” the items listed in the SFIP under “Coverage A – Building Property,”

 subject to any exclusions and deductibles. See 44 C.F.R. pt. 61, app. A(1), § III(A)(1)-(8)

 (Coverage A – Building Property). Otherwise, Defendant denies the allegations in Paragraph 29,

 to the extent Plaintiff claims coverage beyond that provided for by the SFIP, the NFIA and its

 applicable regulations.
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                                            Paragraph 30

        Defendant denies the allegation made in Paragraph 30 of the Complaint, including

 Plaintiff’s claim that he complied with “all conditions precedent to recovery.” Plaintiff failed to

 comply with the Proof of Loss and supporting documentation requirements when seeking an

 additional payment.

                                            Paragraph 31

        Defendant admits that Plaintiff is suing for an alleged breach of contract and seeking

 damages. But, Defendant denies that it breached the insurance contract, as alleged.

                                            Paragraph 32

        Defendant admits that Plaintiff’s home suffered damage following the August 2016 flood,

 but otherwise denies the extent of the damage alleged by Plaintiff.

                                            Paragraph 33

        Defendant denies the allegation contained in Paragraph 33 of the Complaint, as Plaintiff

 has not provided documentation supporting an additional payment (above the amount of additional

 payment already offered) for items already covered by Defendant or that any newly claimed items

 of damage were directly caused by flood.

                                            Paragraph 34

        Defendant denies the allegations contained in Paragraph 34 of the Complaint. Moreover,

 recovery is limited by the terms of the SFIP to the lesser of the policy limits, the cost to replace

 the damage with similar materials, or the actual cost spent to repair the damage. See 44 C.F.R. pt.

 61, app. A(1), § VII(V)(2)(a). Plaintiff is not entitled to interest or any other type of award beyond

 what is covered by the SFIP. Plaintiff can only recover damages for “direct physical loss by or

 from flood” that are justified and owed under the Policy, if any.
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                                           Prayer for Relief

        While Plaintiff’s Prayer for Relief does not require an Answer, Defendant responds that

 Plaintiffs are not entitled to the relief sought in the Complaint.

 II.    DEFENSES

        In response to the claims asserted by Plaintiff (R. Doc. 1), Defendant states the following

 defenses, including affirmative defenses. See Fed. R. Civ. P. 8(b)(1), (c).

                                             First Defense

        Plaintiff’s allegations are vague and the Complaint fails to state a claim on which relief can

 be granted.

                                           Second Defense

        Because Plaintiff failed to plead his claim with any degree of specificity, Defendant

 incorporates and asserts as affirmative defenses the terms and conditions of the Standard Flood

 Insurance Policy, 44 C.F.R. pt. 61, app. A(1); along with the National Flood Insurance Act, 42

 U.S.C. §§ 4001-4131; the Federal Emergency Management Agency’s (FEMA) regulations, 44

 C.F.R. pts. 59-80; and any guidance by FEMA interpreting its regulations, see Stevens v. Allstate

 Ins. Co., 19 F. Supp. 3d 690, 693 (E.D. La. 2014) (Generally, “[a]ny interpretation of those

 regulations by FEMA also governs . . . .”). See also 44 C.F.R. § 61.5(e) (The SFIP “is authorized

 only under terms and conditions established by Federal statute, the Program’s regulations, the

 Administrator’s interpretations and the express terms of the policy itself.”).

                                            Third Defense

        Plaintiff’s recovery is limited to damages for direct physical loss caused by flood and

 covered by the SFIP, subject to the Policy’s limits and exclusions. See 44 C.F.R. pt. 61, app. A(1),
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 § III(A)-(D) (Coverage), § IV (Property Not Covered), § V (Exclusions), § VI. (Deductibles), §

 VII(V) (Loss Settlement).

                                           Fourth Defense

        Plaintiff failed to comply with all requirements of the SFIP before filing suit, precluding

 any recovery. See 44 C.F.R. pt. 61, app. A(1), § VII(R) (“You may not sue us to recover money

 under this policy unless you have complied with all the requirements of the policy.”); see also

 Ferraro v. Liberty Mutual Fire Ins. Co., 796 F.3d 529, 534 (5th Cir. 2015) (“An insured's failure

 to strictly comply with the SFIP's provisions—including the proof-of-loss requirement—relieves

 the federal insurer's obligation to pay the non-compliant claim.”).

                                            Fifth Defense

        Plaintiff cannot recover for underpayment by alleging that he was “forced” to sign a

 deficient Proof of Loss prepared by the adjuster. Plaintiff is solely at fault for any items allegedly

 omitted on the initial Proof of Loss. See Richmond Printing LLC v. Director Federal Emergency

 Management Agency, 72 F. App’x 92, 97 (5th Cir. 2003) (“The SFIP clearly states that the

 adjusters are provided only as a courtesy and that the ultimate responsibility for correctly

 completing and submitting the proof of loss forms falls entirely on the insured.”); Dickson v.

 American Bankers Ins. Co. of Fla., 739 F.3d 397, 400 (8th Cir. 2014) (“[A]s a matter of law, the

 [insureds] were the only parties responsible for ensuring compliance with the proof of loss

 requirement, including the determination of the amount of loss.”); Bull v. Allstate Ins. Co., 649 F.

 Supp. 2d 529, 541 (W.D. La. 2009) (insureds were responsible for strictly complying with terms

 of SFIP and could not rely on misstatements or errors made by adjuster); see also 44 C.F.R. §

 61.5(e) (“[R]epresentations regarding the extent and scope of coverage which are not consistent

 with the [NFIA] or the Program's regulations, are void, and the duly licensed property or casualty
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 agent acts for the insured and does not act as agent for the Federal Government, [FEMA], or the

 servicing agent.”); 44 C.F.R. pt. 61, app. A(1), § VII(J)(4)-(5) (“proof of loss . . . is your statement

 of the amount you are claiming under the policy . . . . you must use your own judgment concerning

 the amount of loss and justify that amount”).

                                             Sixth Defense

         Plaintiff cannot recover because his September 22, 2017 Proof of Loss did not comply with

 the SFIP’s Proof of Loss and documentation requirements. Simply submitting a ‘room-by-room,

 line-by-line’ repair estimate is not enough. See Slater v. Hartford Ins. Co. of the Midwest, 2015

 WL 1310984, at *8 (M.D. Fla. March 24, 2015) (detailed repair estimate insufficient because it

 doesn’t “address” whether each repair is “necessary as a direct result of the flood”). Instead, a

 Proof of Loss must include supporting documentation — i.e., bills, receipts, invoices and related

 documents — sufficient to justify the amount claimed. 44 C.F.R. pt. 61, app. A(1), § VII(J)(3)-(5)

 (proof of loss must include an inventory of damage supported by bills, invoices, receipts and

 related documents justifying the amount claimed); see also Monistere v. State Farm Fire & Cas.

 Co., 559 F.3d 390, 397-98 (5th Cir. 2009) (insured’s POL for additional payment inadequate where

 their only supporting document was a repair estimate claiming significantly greater repair costs;

 POL lacked any bills or receipts justifying additional payment); Wells v. Fidelity Nat’l Ins. Co.,

 2008 WL 2781539, at *4 (E.D. La. July 14, 2008) (dismissing claim based on insured’s failure to

 submit supporting documentation along with POL, “including but not limited to, bills, receipts,

 checks, invoices”). Here, Plaintiff did not provide any supporting documentation.

                                           Seventh Defense

         Plaintiff is not eligible for an additional payment based on higher repair costs, because he

 did not provide documented proof that: (1) those higher costs were incurred and (2) he exhausted
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 the $129,966.95 already paid. The SFIP and FEMA Bulletin W-14058 require “documentation of

 the actual costs” — “actual receipts, paid bills, paid invoices, cancelled checks, and the like” —

 for completed repairs. See 44 C.F.R. pt. 61, app. A(1), § VII(J) (requirements in case of loss); Fed.

 Emergency Mgmt. Agency, U.S. Dep’t of Homeland Sec., FEMA Bull. No. W-14058,

 Clarification on: 1) Application of the Dwelling Form Loss Settlement Clause; 2) Use of Flood

 Insurance Claims Proceeds; and 3) FEMA’s Underwriting and Claims Operation Review Tool

 (Nov. 20, 2014) (“[I]nsurer will need documentation of the actual costs in order to make the

 additional payment. FEMA will require actual receipts, paid bills, paid invoices, cancelled checks

 and the like to support payment.”)

                                           Eighth Defense

          Plaintiff is not entitled to any additional payment based on his September 22, 2017 Proof

 of Loss because it included items not covered under the SFIP or not damaged directly by or from

 flood.

                                            Ninth Defense

          Plaintiff is not entitled to an additional payment because the repair and replacement costs

 included in his September 22, 2017 Proof of Loss are based on materials of higher grade and

 quality than those existing in the home at the time of loss. The SFIP limits coverage to the cost of

 repairing or replacing any damaged property with materials of like kind and quality. See 44 C.F.R.

 pt. 61, app. A(1) § VII(K)(3)(a) (After a loss, the insurer may “[r]epair, rebuild, or replace any part

 of the lost, damaged, or destroyed property with material or property of like kind and quality or its

 functional equivalent.”).
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                                            Tenth Defense

        Plaintiff cannot recover for any alleged damage to the foundation of his home. Hydrostatic,

 hydrodynamic, frictional or buoyant forces from the flood did not damage the foundation. In other

 words, any damage to Plaintiff’s foundation falls within the ‘earth movement’ exclusion of the

 SFIP. See 44 C.F.R. pt. 61, app. A(1), § V(C) (Earth Movement Exclusion).

                                          Eleventh Defense

        Extra-contractual claims and consequential damages arising from Defendant’s handling of

 Plaintiff’s claim are preempted. See Wright v. Allstate Ins. Co., 500 F.3d 390, 397-98 (5th Cir.

 2007) (NFIA preempts extra-contractual claims based on state and federal common law). And so,

 to the extent Plaintiff plead extra-contractual claims arising out of the handling of the insurance

 claim and requests “all other damages Homeowner may prove,” those claims must be dismissed

 because they fail to state a claim on which relief can be granted.

                                           Twelfth Defense

        Plaintiff is not entitled to recover for “expenses, for pre-judgment and post-judgment

 interest . . . and for all other relief this Court may deem just and proper” (R. Doc. 1 at 7), and that

 portion of the Complaint should be dismissed. The NFIA does not “allow recovery of costs,

 attorneys’ fees, or interest.” Qader v. Federal Emergency Management Agency, 543 F. Supp. 2d

 558, 563 (E.D. La. 2008); see also Dwyer v. Fidelity Nat’l Prop. & Cas. Ins. Co., 565 F.3d 284,

 289-90 (5th Cir. 2009) (attorney fees and costs against WYO insurer not available under NFIA or

 Equal Access to Justice Act (EAJA)); Monistere v. State Farm Fire & Cas. Co., 559 F.3d 390, 398

 (5th Cir. 2009) (“the National Flood Insurance Program does not authorize interest, before or after

 judgment”).
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                                                      Respectfully Submitted,

                                                      /s/ Marla E. Mitchell
                                                      Michael G. Gee
                                                      La. Bar Roll No. 20193
                                                      Marla E. Mitchell
                                                      La. Bar Roll No. 33992
                                                      Michelle D. Brooks
                                                      La. Bar Roll No. 29146
                                                      Porteous Hainkel & Johnson, LLP
                                                      211 W. Fifth Street
                                                      Thibodaux, Louisiana 70301
                                                      (985) 446-8451
                                                      mgee@phjlaw.com
                                                      mmitchell@phjlaw.com
                                                      mbrooks@phjlaw.com


                                 CERTIFICATE OF SERVICE

        I certify that on January 31, 2018, a copy of the above Motion was filed electronically with
 the Clerk of Court for the Western District of Louisiana using the Court’s CM/ECF system. A
 copy of this Motion was contemporaneously served on counsel for all parties by electronic means
 and notice of this filing will be sent to all parties by operation of the Court’s electronic filing
 system.


                                       /s/ Marla E. Mitchell
                                        Marla E. Mitchell
